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 1   PETER KMETO
     Attorney at Law
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     (916) 444-7420; FAX: (916) 914-2357
 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                         IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        )   No. CR-S-09-196 GEB
                                                      )
10                         Plaintiff,                 )    STIPULATION AND ORDER
                                                      )    CONTINUING JUDGEMENT
11                                                    )    AND SENTENCING DATE
                                                      )
12             vs.                                    )
                                                      )
13   MICHAEL LEON W ILLIAMS,                          )
                                                      )
14                         Defendant.                 )
                                                      )
15
               Defendant: MICHAEL LEON W ILLIAMS, through his attorney, PETER
16
     KMETO, and the United States of America, through its counsel of record, MICHAEL
17
     BECKW ITH, stipulate and agree to the following:
18
               1. The presently scheduled Judgement and Sentencing date of April 12,
19
     2013 shall be vacated as to defendant, MICHAEL LEON W ILLIAMS, and said
20
     Hearing be rescheduled for June 14, 2013 at 9:00 a.m..
21
               2. Medical records pertinent to the preparation of the Pre-Sentence Report
22
     are currently being sought and have yet to be delivered to the US Probation Officer.
23
     Consequently, in order to provide additional time for preparation of the PSR, and
24
     any objections thereto, the parties stipulate to the new sentencing date.
25

26   /// ///

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 1         IT IS SO STIPULATED.

 2

 3
     Dated:   February 20, 2013            /s/ MICHAEL BECKW ITH
 4                                        Assistant U.S. Attorney
 5                                        for the Government

 6

 7   Dated:   February 20, 2013            /s/ PETER KMETO
                                           Attorney for Defendant
 8
                                           MICHAEL LEON W ILLIAMS
 9

10
                                          ORDER
11

12               UPON GOOD CAUSE SHOW N and the stipulation of the two parties,

13   IT IS ORDERED that the HEARING FOR JUDGEMENT AND SENTENCING in the

14   above entitled matter be continued to June 14, 2013, as set forth above.

15
     Dated: February 21, 2013
16

17

18                                      GARLAND E. BURRELL, JR.
                                        Senior United States District
19                                      Judge
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